Case 2:05-cv-02509-SHI\/|-dkv Document 19 Filed 07/22/05 Page 1`0f5 Page|D 1

Fn_ED B' ,,__,,___, D.C.
IN THE UNITED sTATEs DISTRICT cotm'r
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JEH, INc., and ERIC HINsHAw WlD §¥:"15'“¢?*‘*5§\‘?*'"3

Plaintiffs,

v. No. 05-2509 Ma/V
VOLVO CONSTRUCTION EQUIPMENT
RENTS, INC., VOLVO CONSTRUCTION
EQUIPMENT NORTH AMERICA, INC.,
VOLVO COMMERCIAL FINANCE LLC
THE AMERICAS, and SCOTT
CONSTRUCTION EQUIPMENT CO., LLC,

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Defendants.

 

ORDER CONTINUING STATE COURT’S TEMPORARY RESTRAINING ORDER AND
SETTING PRELIMINARY INUUNCTION HEARING

 

This action arises from the alleged breach of a franchise
agreement between Plaintiffs and Defendant Volvo Construction

Equipment Rents, Inc. (“Volvo Rents”). On July 1, 2005, Plaintiffs
filed suit for rescission, damages, and declaratory judgment in
Chancery Court of Shelby County, Tennessee. On July 5, 2005,
Defendant Volvo Commercial Finance LLC The Americas (“Volvo
Finance”) issued Plaintiffs a notice of default on debt that
Plaintiffs had incurred under the franchise agreement. Plaintiffs
contend that they have not defaulted on any of their obligations
under the agreement.

The Plaintiffs claimed that this notice was in retaliation for

their filing suit and requested a temporary restraining order

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Case 2:05-cv-02509-SHI\/|-dkv Document 19 Filed 07/22/05 Page 2 of 5 Page|D 2

against the Defendants. On July 6, 2005, Judge James Russell
granted Plaintiffs' request:

In the meantime, you are prohibited and restrained from

taking any action with regard to default or any other

action changing the status quo of the relationship
between the Plaintiffs JEH, Inc. and Eric Henshaw and

Volvo Construction Equip Rents, Inc., Volvo Commercial

Finance or any other entity owned by Volvo Construction

North America, Inc., until further Orders of this Court

to the contrary.

On July 15, 2005, the Defendants removed the case to United
States District Court. On July 20, 2005, Plaintiffs moved that the
restraining order granted in state court be extended by this court.
Defendant Volvo Finance responded on July 22, 2005. Federal law
provides that “[a]ll injunctions, orders, and other proceedings had
in such action [removed from state court to federal court] prior to
its removal shall remain in full force and effect until dissolved
or modified by the district court.” 28 U.S.C. § 1450. Plaintiffs
indicate that they will seek a preliminary injunction from this

court, and the court is not prepared to modify the standing order

until it hears the parties’ arguments addressed to that request.

Case 2:05-cv-02509-SHI\/|-dkv Document 19 Filed 07/22/05 Page 3 of 5 Page|D 3

For the foregoing reasons, the court GRANTS the request to
continue the July 6, 2005 temporary restraining order until the
request for a preliminary injunction is resolved. The court will
hold a hearing on that matter on Wednesday, July 27, 10:30 a.m., in
llth Floor Courtroom 2, Clifford Davis Federal Building, 167 North

Main Street, Memphis, Tennessee 38103.

so oRDERED this 'n"\ day of July 2005.

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SAMUEL H. M.AYS, JR
UNITED STATES DISTRICT JUDGE

 

   

    
   

 

UNIED STATES DISTRCIT OURT - WESTRN

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
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Case 2:05-cv-02509-SHI\/|-dkv Document 19 Filed 07/22/05 Page 5 of 5 Page|D 5

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Honorable Samuel Mays
US DISTRICT COURT

